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October 17, 2023

Via ECF

Hon. Arun Subramanian
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Azam Ahmed v. Cigna Health Management, Inc. et al.,
               Case No. 1:23-cv-08094-AS

Dear Judge Subramanian:

       Kelley Drye & Warren LLP represents Defendants Wellfleet Insurance and Wellfleet New York
Insurance Company (collectively “Wellfleet”) in this matter. Pursuant to Section 3.E of the Court’s
Individual Practices in Civil Cases, Wellfleet respectfully requests an extension of time to answer, move,
or otherwise respond to the Complaint up to and including November 27, 2023.

       Plaintiff filed the Complaint on September 13, 2023, and Wellfleet was served with the Complaint
on September 28, 2023. Accordingly, Wellfleet’s current deadline to respond is October 19, 2023.

        Wellfleet is requesting an extension of its time to respond to the Complaint to allow it sufficient
time to investigate the Plaintiff’s allegations and to prepare a response. The parties have conferred and
Plaintiff consents to extend Wellfleet’s deadline to respond to the Complaint up to and including
November 27, 2023, which is the same deadline set for defendant Cigna Health Management, Inc. to
respond. Wellfleet has not previously requested any adjournments or extensions of time.

       The parties are currently scheduled to appear before the Court on December 20, 2023, and the
requested extension will not affect this appearance or any other deadlines in this case.

                                                     Respectfully submitted,
                                                     /s/ Jaclyn M. Metzinger
                                                     Jaclyn M. Metzinger
                                                     Lead Trial Counsel
cc (via ECF): All Counsel of Record
